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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

NICOLE CHASE                               :     NO.: 3:18-cv-00683 (VLB)
                                           :
v.                                         :
                                           :
NODINE’S SMOKEHOUSE, INC., et al           :     DECEMBER 17, 2021

           PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
       PLAINTIFF’S MOTION IN LIMINE TO PRECLUDE THE TESTIMONY
       OF CHIEF ARCIERO AND DEFENDANT EXHIBITS CD-S and CD-NN


Exhibit 1   Chimes Letter Dated 2.9.2018

Exhibit 2   Arciero IA Report dated 4.2.2019

Exhibit 3   Emails between Arciero and CSP

Exhibit 4   Pl. Requests for Production dated 6.25.2018
